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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA STATE CONFERENCE )
OF THE NAACP, et al, )
Plaintiffs, )
)

v. ) Case No. 1:22-CV-339
)
LEIGH CHAPMAN, )
Acting Secretary, et al, )
Defendants. )

CASE MANAGEMENT

ORDER

While all parties seek an accelerated resolution to this matter, the parties disagree as to
the speed with which this case should proceed. Some seek the fast track, while others seek
something a bit more measured. Either way, it has been made clear by the parties that the issues
raised herein will not ultimately be decided by this trial level court, and as such, the hyper-
expedited track will not provide the final determination sought by some parties by the primary
election. Therefore, although the case will proceed with all deliberate speed, the deadlines below
will serve justice without setting unrealistic expectations of time on the litigants.

As a general matter, all counsel must familiarize themselves with the Practices and

Procedures of the undersigned available through the Court’s website at www.pawd.uscourts. gov.

Counsel will be held responsible for complying with these practices and procedures. As to the
schedule moving forward, it is hereby
ORDERED:
Initial disclosures pursuant to Fed.R.Civ.P. 26(a) shall be made by February 10,

2023.

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Fact discovery, which is already proceeding apace, shall be completed by
February 17, 2023.

All expert reports shall be served by February 24, 2023 and expert discovery
shall close by March 17, 2023.

Motions to compel discovery shall not be filed on the docket until after the

Court is notified. The movant must telephone Chambers immediately prior to filing the

motion. The Court will then set a telephonic conference to resolve the motion. The discovery at
issue, along with a certificate of conferral between the appropriate parties, shall be attached to
the motion. No brief, either in support or in opposition, shall be filed, unless otherwise directed
by the Court.
Pursuant to Local Rule LCvR 16.1(D), and to aid in the implementation of Fed. R.
Evid. 502, the following is ordered:
a) If a party (the “Producing Party’’) discloses information in connection
with the pending litigation that the Producing Party thereafter claims to be
protected by the attorney-client privilege and/or trial preparation material
protection (“Protected Information’), the disclosure of that Protected
Information will not constitute or be deemed a waiver or forfeiture, in this
or any other federal, state, arbitration, or any other proceeding, of any
claim of privilege or protection as trial preparation material that the
Producing Party would otherwise be entitled to assert with respect to the
Protected Information and its subject matter.
b) The producing party must promptly notify the party receiving the

Protected Information (the “Receiving Party”), in writing that it has

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disclosed the Protected Information without intending a waiver by the
disclosure. The notification by the Producing Party shall include as
specific an explanation as possible why the Protected Information is
covered by the attorney- client privilege and/or constitutes trial
preparation material upon such notification, the Receiving Party must,
unless it contests the claim of attorney-privilege or protection as trial
preparation material, promptly notify the Producing party that it will make
best efforts to identify and return, sequester or destroy (or in the case of
electronically stored information, delete) the Protected Information and
any reasonably accessible copies it has and provide a certification that it
will cease further review, dissemination and use of the Protected
Information.

c) If the Receiving Party contests the claim of attorney-client privilege or
protection as trial preparation material, the Receiving Party must, within
30 days of receipt of the notification referenced above, move the Court for
an Order finding that the material referenced in the notification does not
constitute Protected Information. This Motion must be filed (with Court
approval) under seal and cannot assert the fact or circumstances of the
disclosure as a ground for determining that the material does not constitute
Protected Information. Pending resolution of the Motion, the Receiving
Party must not use the challenged information in any way or disclose it to
any person other than as required by law to be served with a copy of the

sealed Motion.

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d) The parties may stipulate to extend the time periods set forth above.
The Disclosing Party retains the burden of establishing the privileged or
protected nature of the Protected Information. This Order does not
preclude a party from voluntarily waving the attorney-client privilege or
trial preparation material protection. The provisions of Federal Rule of
Evidence 502(a) apply when the Disclosing Party uses or indicates that it
may use information produced under this Order to support a claim or
defense.
e) Rule 502(b)(2). The failure to take reasonable steps to prevent the
disclosure shall not give rise to a waiver of the privilege.
IT IS FURTHER ORDERED that dispositive motions shall be due by April
21, 2023 and oppositions thereto shall be due by May 5, 2023. Any reply briefs may be filed
by May 10, 2023.
a) Concise Statements - Strict compliance with the provisions of Local Rule 56
is required. Every motion for summary judgment and supporting brief, if

based on the affirmative proof of facts, shall be accompanied by a Concise

Statement of Material Facts not in dispute. This statement shall contain

numbered paragraphs setting forth all of the facts supporting the motion which
are necessary for its resolution. Each factual assertion shall cite to evidentiary
materials accompanying the motion. There is no page limitation for Concise

Statements.

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b)

¢)

Documents referenced in the Concise Statement shall be included in a
separate appendix. The evidentiary materials included in the appendix shall be
limited to the amount necessary to support the motion.

Responsive Concise Statements - Each party opposing a motion for
summary judgment shall file in addition to its brief in opposition, a response

to the moving party’s Concise Statement of Material Facts. In paragraphs

corresponding to those of the Concise Statement, the opposing party shall
state whether the facts listed are disputed. For any disputed fact, the opposing
party shall cite to evidentiary material demonstrating the dispute and attach

such evidentiary material in an Appendix. When responding to the Concise

Statement of Material Facts, the responding party must include a reprint

of each original fact statement, followed by the response, seriatim. There

is no page limitation for Responses to Concise Statements.

The Responsive Concise Statement may also contain any other material facts,
set forth in separately numbered paragraphs with appropriate citation to the
evidentiary material contained in the Appendix, that are necessary for the
Court to determine the motion for summary judgment.

Any new material fact raised in the Responsive Concise Statement must be
addressed by the opposing party in the same manner as the Responsive
Concise Statement addressed the material facts raised in the Concise
Statement.

Admission of Material Facts - As provided by Local Rule 56, alleged

material facts set forth in the moving party’s Concise Statement of Material

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Facts or in the opposing party’s Responsive Concise Statement, which are
claimed to be undisputed, will for the purpose of deciding the motion for
summary judgment be deemed admitted unless specifically denied or

otherwise controverted by a separate responsive concise statement of the
opposing party.

IT IS FURTHER ORDERED that, to the extent that parties wish to move for an
evidentiary hearing, they may do so by May 5, 2023 by filing a motion explaining the need for
such a hearing in detail.

IT IS FURTHER ORDERED that the pendency of the motion to dismiss, as well as any

other motion, will not stay the time periods set forth in, nor affect any other compliance

requirements of, this Case Management Order.

SUSAN PARADISE BAXTER :

United States District Judge

